                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 1 of 14


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                   8   Wal-Mart Stores, Inc.
                   9                          UNITED STATES DISTRICT COURT
                  10                         EASTERN DISTRICT OF CALIFORNIA
                  11

                  12   PENNY AUTRY,                                 Case No.
                  13                 Plaintiff,
                                                                    DEFENDANT WAL-MART
                  14         vs.                                    STORES, INC.’S PETITION AND
                                                                    NOTICE OF REMOVAL OF CIVIL
                  15   WAL-MART STORES, INC. a                      ACTION PURSUANT TO 28 U.S.C.
                       corporation, and DOES 1 to 100,              §§ 1332, 1441 AND 1446
                  16
                                     Defendants.                    [DIVERSITY AND FEDERAL
                  17                                                QUESTION JURISDICTION]
                  18
                                                                    [Filed concurrently with Declaration of
                  19                                                Jordon R. Ferguson; Notice of Related
                                                                    Cases; Civil Case Cover Sheet;
                  20                                                Corporate Disclosure Statement;
                                                                    Request for Judicial Notice; and
                  21                                                Certification of Interested Parties]
                  22                                                State Ct. Action Filed: August 19, 2014
                                                                    Trial Date:             None Set
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                                                                                                      Case No.
                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 2 of 14


                   1         TO THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                   2   DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND HER COUNSEL
                   3   OF RECORD:
                   4         PLEASE TAKE NOTICE that, pursuant to United States Code, Title 28,
                   5   Sections 1332, 1441 and 1446, Defendant Wal-Mart Stores, Inc. (“Defendant” or
                   6   “Walmart”) hereby removes the above-entitled action from the Superior Court of the
                   7   State of California for the County of Tulare, to the United States District Court for
                   8   the Central District of California, Eastern Division, on the following grounds:
                   9         First, this is a civil action founded on a claim or right arising under the
                  10   Constitution, treaties, or laws of the United States, including the Family Medical
                  11   Leave Act, 29 U.S.C. § 2601, et. seq.
                  12         Second, there is complete diversity of citizenship between Plaintiff Jenny
                  13   Autry (“Plaintiff”), a citizen of the State of California, and Defendant, a citizen of
                  14   the States of Delaware and Arkansas and the amount in controversy exceeds $75,000
                  15   set forth in Section 1332(a). Accordingly, removal is also proper based on diversity
                  16   jurisdiction.
                  17         The forgoing facts were true at the time the Complaint in this matter was filed
                  18   and remain true as of the date of the filing of this Notice of Removal, as more fully
                  19   set forth below on the following grounds:
                  20                                               I.
                  21                               THE STATE COURT ACTION
                  22         1.        On or about August 19, 2014, Plaintiff filed an action against Defendant
                  23   entitled “PENNY AUTRY, Plaintiff vs. WAL-MART, STORES, INC. a corporation,
                  24   and DOES 1 to 100, Defendants,” in Tulare County Superior Court, Case Number
                  25   257542 (“State Court Action”).
                  26         2.        On September 18, 2014, Defendant received service of the Summons,
                  27   Complaint, and Civil Case Cover Sheet through its registered agent for service of
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                  28   process. These documents were the initial pleadings received by Defendant setting
                                                                   1                                     Case No.
                                  DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 3 of 14


                   1   forth the claims upon which this action is based. True and correct copies of these
                   2   documents, along with all pleadings, process and other documents Defendant has
                   3   received in this action are attached hereto as Exhibit A to the Declaration of Jordon
                   4   R. Ferguson, filed concurrently herewith. In accordance with 28 U.S.C. 1446(a),
                   5   Exhibit A represents the entirety of the process, pleadings, or orders in the action.
                   6   Defendant has not served or been served with any other process, pleadings, or orders
                   7   in this action.
                   8          3.     The Complaint asserts the following claims: (1) wrongful termination in
                   9   violation of public policy; (2) retaliation in violation of California’s Fair
                  10   Employment and Housing Act (“FEHA”); (3) disability discrimination in violation
                  11   of FEHA; (4) failure to accommodate in violation of FEHA; (5) failure to engage in
                  12   interactive process in violation of FEHA; (6) age discrimination in violation of
                  13   FEHA; (7) violation of CFRA and FMLA.
                  14          4.     On October 14, 2014, Defendant timely served and filed its Answer to
                  15   Plaintiff’s Complaint in the Superior Court of the States of California, County of
                  16   Tulare. A true and correct conformed copy of Defendant’s Answer to Plaintiff’s
                  17   Complaint is included in Exhibit B to the Declaration of Jordon R. Ferguson, filed
                  18   concurrently herewith.
                  19                                             II.
                  20                                 REMOVAL IS TIMELY
                  21          5.     A defendant in a civil action has thirty (30) days from the date it is
                  22   validly served with a summons and complaint to remove the action to federal court.
                  23   28 U.S.C. § 1446(b). (“[A] notice of removal may be filed within thirty days after
                  24   receipt by the defendant, through service or otherwise, of a copy of an amended
                  25   pleading, motion, order or other paper from which it may first be ascertained that the
                  26   case is one which is or has become removable”); Murphy Bros, Inc. v. Michetti Pipe
                  27   Stringing, Inc., 526 U.S. 344, 354, 119 S.Ct. 1322, 143 L.Ed. 2d 448 (1999).
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                  28   ///
                                                                  2                                   Case No.
                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 4 of 14


                   1         6.     Here, removal is timely because Defendant is filing this Notice of
                   2   Removal within thirty (30) days after its Registered Agent for Service of Process was
                   3   served with the Summons and Complaint.
                   4                                             III.
                   5    REMOVAL IS PROPER ON FEDERAL QUESTION GROUNDS BECAUSE
                   6   THIS CIVIL ACTION INVOLVES CLAIMS OR RIGHTS ARISING UNDER
                   7                        THE LAWS OF THE UNITED STATES
                   8         7.     This action is one which this Court has original jurisdiction under 28
                   9   U.S.C. § 1331 over Plaintiff’s seventh claim, and is one which may be removed to
                  10   this Court pursuant to the provisions of 28 U.S.C. § 1441(b) in that it arises under the
                  11   Family Medical Leave Act, 29 U.S.C. § 2601, et. seq. (Complaint, ¶¶ 71-79.)
                  12   Specifically, Plaintiff alleged that he was “eligible for a CFRA/FMLA leave” and
                  13   Defendant “failed, refused, and/or denied Plaintiff the CFRA/FMLA leave, and/or
                  14   mislead her with regards to the rights and obligations of a CFRA/FMLA leave.”
                  15   (Complaint, ¶ 74.) Plaintiff further alleged that Defendant “failed to notify Plaintiff
                  16   of her rights pursuant to the FMLA/CFRA.” (Complaint, ¶ 74.)
                  17         8.     Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction
                  18   over the state law causes of action in Plaintiff’s Complaint because the state law
                  19   claims are transactionally related to Plaintiff’s seventh claim under the Family
                  20   Medical Leave Act, 29 U.S.C. § 2601, et. seq. The state law claims derive from the
                  21   same common nucleus of operative fact as the federal cause of action. Accordingly,
                  22   removal is also proper on federal question grounds as well. See Emich v. Touche
                  23   Ross & Co., 846 F.2d 1190, 1196 (9th Cir. 1988); see also United Mine Workers of
                  24   America v. Gibbs, 383 U.S. 715, 725 (1966).
                  25         9.     Pursuant to 28 U.S.C. § 1441(c), whenever a claim or cause of action is
                  26   brought under a federal law for which this Court has original jurisdiction, and is
                  27   joined with one or more otherwise non-removable claims or causes of action, the
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                  28   entire case may be removed.
                                                                  3                                     Case No.
                                  DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 5 of 14


                   1                                               IV.
                   2                  REMOVAL OF THE COMPLAINT IS ALSO PROPER
                   3                              ON THE BASIS OF DIVERSITY
                   4                                        28 U.S.C. § 1332
                   5          10.     The above-described action is a civil action of which this court has
                   6   original jurisdiction under the provisions of United States Code, Title 28, Section
                   7   1332, and is one that may be removed to this Court by Walmart, pursuant to United
                   8   States Code, Title 28, section 1441.
                   9          11.     This Court has original jurisdiction over this action under United States
                  10   Code, Title 28, Section 1332 because (a) the amount in controversy exceeds the sum
                  11   or value of $75,000, exclusive of interest and costs, and (b) the parties to this action
                  12   are citizens of different states.
                  13          12.     Complete Diversity of the Parties Exists. This Court has original
                  14   jurisdiction over this action under 28 U.S.C. § 1332 and hence the action may be
                  15   removed by Defendant pursuant to 28 U.S.C. § 1441. Original jurisdiction exists
                  16   here because no defendant is a citizen of the same state as any plaintiff and the
                  17   amount in controversy exceeds $75,000, exclusive of interest and costs. The parties
                  18   to this action are diverse, as detailed below:
                  19          13.     Plaintiff is a Citizen of California. Plaintiff is a citizen of the State of
                  20   California and is domiciled in the County of Tulare, California, and was so
                  21   domiciled at the time of filing of the Complaint. (Complaint, ¶ 1.)
                  22          14.     Defendant is a Citizen of Delaware and Arkansas. The Supreme
                  23   Court established the proper test for determining the principal place of business of a
                  24   corporation for purposes of diversity jurisdiction. See Hertz Corp. v. Friend, 130 S.
                  25   Ct. 1181 (2010). The Court held that “‘principal place of business’ [as contained in
                  26   section 1332(c)] is best read as referring to the place where a corporation’s officers
                  27   direct, control, and coordinate the corporation’s activities.” Id. at 1184. The Court
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                  28   further clarified that the principal place of business was the place where the
                                                                    4                                      Case No.
                                    DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 6 of 14


                   1   corporation “maintains its headquarters -- provided that the headquarters is the actual
                   2   center of direction, control and coordination.” Id.
                   3         15.     Defendant was at the time the Complaint was filed, and still is,
                   4   incorporated in the State of Delaware. Its principal place of business at the time of
                   5   the filing of the Complaint was and is currently in the State of Arkansas.
                   6   (Request for Judicial Notice (“RJN”), 1 – 2; Declaration of Jordon Ferguson (“Decl.
                   7   Ferguson”), ¶¶ 3-4, Exs. C - D.) Pursuant to 28 U.S.C. § 1332(c), “a corporation
                   8   shall be deemed to be a citizen of any State or foreign state by which it has been
                   9   incorporated and of the State or foreign state where it has its principal place of
                  10   business.”
                  11         16.     Further, Defendant does business in a number of states and does not
                  12   conduct the substantial predominance of its business in any single state. (Decl.
                  13   Ferguson, ¶ 7.) See Montrose Chemical v. American Motorists Ins. Co., 117 F.3d
                  14   1128, 1134 (9th Cir. 1997) (holding that a corporation’s principal place of business is
                  15   the state in which it performs a substantial predominance of its corporate operations
                  16   and, when no state contains a substantial predominance of the corporation’s business
                  17   activities, then the corporation’s principal place of business is the state in which the
                  18   corporation performs its executive and administrative functions).
                  19         17.     Thus, for diversity purposes, Defendant must be considered a citizen of
                  20   Delaware and Arkansas.
                  21         18.     The Citizenship of the Doe Defendants Is Irrelevant. “For purposes
                  22   of removal . . . the citizenship of defendants sued under fictitious names shall be
                  23   disregarded.” 28 U.S.C. § 1441(b)(1). Inclusion of “Doe” defendants in a state court
                  24   complaint has no effect on removability. Newcombe v. Adolf Coors Co., 157 F.3d
                  25   686, 690 (9th Cir. 1998) (holding that in determining whether diversity of citizenship
                  26   exists, only the named defendants are considered); Salveson v. Western States
                  27   Bankcard Ass’n., 731 F.2d 1423, 1429 (9th Cir. 1984) (holding that the rule in the
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                  28   Ninth Circuit is that non-served defendants are not required to join in a removal
                                                                  5                                     Case No.
                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                           Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 7 of 14


                   1   petition). Therefore, Plaintiff’s inclusion of DOES 1 through 100 in the Complaint
                   2   cannot defeat diversity jurisdiction.
                   3           19.     This Court has original jurisdiction over the case based on diversity
                   4   jurisdiction pursuant to United States Code, Title 28, Sections 1332(a) and 1441(a),
                   5   in that, Plaintiff is, and was at all times relevant to this action, a citizen of the State
                   6   of California and Defendant is, and was at all times relevant to this action, a citizen
                   7   of the States of Delaware and Arkansas. As a result, complete diversity between
                   8   Defendant and Plaintiff exists now, and did exist at the time the Complaint was filed.
                   9           20.     Based on the foregoing, complete diversity among the parties exists
                  10   now. Thus, this timely Petition is based on complete diversity of the parties.
                  11           21.     THE      AMOUNT         IN    CONTROVERSY             EXCEEDS          AN
                  12   AGGREGATE OF $75,000, EXCLUSIVE OF INTEREST AND COSTS. This
                  13   court has original jurisdiction over the case pursuant to 28 U.S.C. §§ 1332(a) and
                  14   1441(a), on the basis that the amount in controversy exceeds the requisite $75,000,
                  15   exclusive of interests and costs.
                  16           22.     This Court's jurisdictional minimum, an amount in controversy in
                  17   excess of $75,000, was satisfied at the time of the filing of this action, and still is
                  18   satisfied, by the facts set forth herein and more specifically described below.
                  19   Defendant discusses below the allegations in Plaintiff's Complaint that are the
                  20   subject of this matter solely to demonstrate that the amount in controversy in this
                  21   matter exceeds $75,000.00.1
                  22

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                           By estimating the amounts Plaintiff may recover if she prevails, Defendant does not
                  26
                       concede that Plaintiff will prevail on her Complaint or that, if she prevails, she is
                  27
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                  28
                       right to dispute Plaintiff’s claims with respect to both liability and damages.
                                                                    6                                      Case No.
                                     DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 8 of 14


                   1           23.     In determining whether the jurisdictional minimum is met, the Court
                   2   considers all recoverable damages, including compensatory damages, emotional
                   3   distress damages, punitive damages, statutory penalties, and attorney’s fees. Hunt v.
                   4   Washington State Apple Advertising Comm’n, 432 U.S. 333, 347-48 (1977); Galt
                   5   G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).
                   6           24.     The Complaint does not allege a damage amount as to each claim.
                   7   Removal is, therefore, proper if from the allegations of the Complaint and the Notice
                   8   of Removal, it is more likely than not that the value of Plaintiff’s claims exceeds
                   9   $75,000. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996);
                  10   Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999).
                  11           25.     In her Complaint, Plaintiff seeks “loss of earnings and earning
                  12   capacity.” (Complaint, Prayer at ¶ 2.) Plaintiff also alleges that, as a result of
                  13   Defendant’s actions, she has lost and will continue to lose income, benefits, and
                  14   other employment opportunities. (Complaint, ¶¶ 21, 30, 39, 49, 59, 69, and 76.)
                  15   Plaintiff’s claim for compensatory damages, including lost prior and future earnings,
                  16   must be based on her annual compensation during the time of her employment with
                  17   Defendant. At the time of her termination on or about August 24, 2012, her hourly
                  18   rate as an Asset Protection Associate was $17.80 per hour, which totals
                  19   approximately $37,024.00 on an annualized basis (2,080 hours). (Decl. Ferguson,
                  20   ¶ 5.)     In addition to wage compensation, Plaintiff received benefits during her
                  21   employment with Defendant. (Decl. Ferguson, ¶ 5.) Thus, at the time of the removal
                  22   of this case, Plaintiff’s alleged unmitigated lost wages and benefits already exceeds
                  23   $75,000.00.
                  24           26.     Based on the 2014 Judicial Caseload Profile for the Eastern District of
                  25   California obtained from the United States District Courts’ official website
                  26   (http://www.uscourts.gov/viewer.aspx?doc=/uscourts/Statistics/FederalCourtManage
                  27   mentStatistics/2014/district-fcms-profiles-june-2014.pdf&page=67), the median time
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                  28   from filing to trial in a civil matter is 47.8 months. (RJN, 3; Decl. Ferguson, ¶ 5, Ex.
                                                                    7                                   Case No.
                                     DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                        Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 9 of 14


                   1   E.) By the time this case is resolved at trial, likely no earlier than August 2018
                   2   (approximately 47.8 months from the date the lawsuit was filed), Plaintiff's alleged
                   3   unmitigated lost wages could amount to at least $222,144.00.
                   4         27.     Additionally, Plaintiff has pled for the recovery of punitive and
                   5   exemplary damages. (Complaint, ¶¶ 23, 31, 41, 51, 61, 78 and Prayer at ¶ 5.) The
                   6   potential for exemplary damages award alone against Defendant satisfies the amount
                   7   in controversy. California law does not provide any specific monetary limit on the
                   8   amount of punitive damages which may be awarded under Civil Code section 3294,
                   9   and the proper amount of punitive damages under California law is based on the
                  10   reprehensibility of the defendant’s misdeeds. Boyle v. Lorimar Productions, Inc., 13
                  11   F.3D 1357 (9th Cir. 1994).         “Where both actual and punitive damages are
                  12   recoverable under a complaint each must be considered to the extent claimed in
                  13   determining jurisdictional amount.” Bell vs. Preferred Life Assurance Society, 320
                  14   U.S. 238, 240 (1943); see also Davenport v. Mutual Ben. Health & Acc. Ass’n, 325
                  15   F. 2d 785 (9th Cir. 1963) (punitive damages are included in calculating the amount
                  16   in controversy); Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is
                  17   well established that punitive damages are part of the amount in controversy in a
                  18   civil action.”). In fact, in cases such as the instant action, the amount in controversy
                  19   may be satisfied by the pleading of several different types of damages in the
                  20   complaint, even though the removing party does not estimate the exact dollar amount
                  21   of such damages. See Simmons v. PCR Technology, 209 F. Supp. 2d 1029, 1031-35
                  22   (N.D. Cal. 2002) (finding that the plaintiff’s alleged loss income of $25,600 at the
                  23   time of removal, included with unspecified amounts for medical expense damages,
                  24   emotional damages, punitive damages, and attorney’s fees anticipated to incur
                  25   through trial, satisfy the amount in controversy required to establish diversity
                  26   jurisdiction). Thus, when considering the potential amount of all damages sought by
                  27   Plaintiff, it easily becomes “more likely than not” that the amount at issue in this
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                                                                  8                                     Case No.
                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                       Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 10 of 14


                   1   lawsuit far exceeds the minimum amount required for diversity jurisdiction. Sanchez
                   2   v. Monumental Life Ins. Co., 95 F.3d 856, 860 (9th Cir. 1996).
                   3          28.       Unspecified mental and emotional distress damages are also properly
                   4   considered in calculating the amount in controversy. See Simmons v. PCR Tech.,
                   5   209 F. Supp. 2d 1029, 1031-1035 (N.D. Cal. 2002). Plaintiff alleges that, as a result
                   6   of Defendant’s actions, she sustained and continues to suffer humiliation, emotional
                   7   distress, anxiety, and injury to her psyche.       (Complaint, ¶¶ 22, 29, 40, 50, 60, 69,
                   8   and 77.)
                   9          29.       Finally, Plaintiff also seeks statutory attorney’s fees and costs based on
                  10   her claims under California Government Code §12965(b). (See Complaint, ¶¶ 32,
                  11   42, 52, 62, 70, and 79.) When authorized by statute or contract, attorney’s fee claims
                  12   are also properly considered in determining the amount in controversy. Kroske v.
                  13   U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005); Galt G/S v. JSS Scandinavia,
                  14   142 F.3d 1150, 1155-56 (9th Cir. 1998).              Adding the potential damages for
                  15   attorney’s fees, it is factually apparent from the body of the Complaint that the
                  16   damages sought by Plaintiff are well in excess of $75,000. Luckett v. Delta Airlines,
                  17   171 F.3d 295, 298 (5th Cir. 1999) (holding claims exceeded $75,000 as alleged in
                  18   the complaint because there were alleged damages for property, travel expenses, an
                  19   emergency ambulance trip, a six day stay in the hospital, pain and suffering,
                  20   humiliation, and temporary inability to do housework); White v. FCI USA, Inc., 319
                  21   F.3d 672, 674 (5th Cir. 2003) (a wrongful termination claim including a “lengthy list
                  22   of compensatory and punitive damages” including loss of pay, impaired earning
                  23   capacity, emotional distress, etc. combined with a claim for attorney fees was
                  24   sufficient to exceed the $75,000 minimum required to establish diversity
                  25   jurisdiction).
                  26          30.       Accordingly, based on a good faith estimate of the value of the claims
                  27   asserted on the face of the Complaint, it is “more likely than not” that the amount at
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                  28   issue in this lawsuit exceeds the minimum amount required for diversity jurisdiction.
                                                                      9                                    Case No.
                                    DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                       Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 11 of 14


                   1   Sanchez, supra, 102 F.3d at 404; see also Simmons, supra, 209 F.Supp.2d at 1031-
                   2   1035 (finding that the plaintiff’s alleged lost income of $25,600 at the time of
                   3   removal, included with unspecified amounts for medical expense damages,
                   4   emotional damages, punitive damages, and attorneys’ fees anticipated to incur
                   5   through trial, satisfy the amount in controversy required to establish diversity
                   6   jurisdiction); White v. FCI USA, Inc., 319 F.3d 672, 674 (5th Cir. 2003) (a wrongful
                   7   termination claim including a “lengthy list of compensatory and punitive damages”
                   8   including loss of pay, impaired earning capacity, emotional distress, etc. combined
                   9   with a claim for attorney fees and punitive damages, was sufficient to exceed the
                  10   $75,000 minimum required to establish diversity jurisdiction, even though Plaintiff
                  11   had only specified $13,000 in damages from lost income at the time of removal).
                  12         31.     As the alleged damages exceed this Court’s jurisdictional limit and as
                  13   the parties are of diverse citizenship, removal is proper.
                  14                                              V.
                  15                                    VENUE IS PROPER
                  16         32.     In accordance with United States Code, Title 28, Section 1441(a), this
                  17   Notice of Removal is filed in the district court of the United States in which the
                  18   action is pending. The Superior Court of California, County of Tulare is located
                  19   within the Eastern District of California. 28 U.S.C. § 84(c)(2). Therefore, venue is
                  20   proper in this Court because it is the “district and division embracing the place where
                  21   such action is pending.” 28 U.S.C. § 1441(a).
                  22                                             VI.
                  23         SATISFACTION OF REQUIREMENTS OF 28 U.S.C. § 1446
                  24         33.     In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is filed
                  25   in the District Court of the United States in which the action is pending. The
                  26   Superior Court of California, Tulare County, is located within the Eastern District of
                  27   California. Therefore, venue is proper in this Court pursuant to 28 U.S.C. § 84(a)
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                                                                  10                                   Case No.
                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
                       Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 12 of 14


                   1   because it is the “district and division embracing the place where such action is
                   2   pending.” 28 U.S.C. § 114(a).
                   3         34.     In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is
                   4   accompanied by Exhibit A to the Declaration of Jordon Ferguson, which are copies
                   5   of all process, pleadings, and orders served upon Defendant and filed in the State
                   6   Court Action.
                   7         35.     In accordance with 28 U.S.C. § 1446(d), Defendant will give written
                   8   notice of the original removal of this action to Plaintiff via her counsel and file a
                   9   copy of that Notice with the Superior Court of California, County of Tulare.
                  10                                             VII.
                  11                                      CONCLUSION
                  12         36.     Because this civil action is between citizens of different states and the
                  13   matter in controversy exceeds $75,000, exclusive of interest and costs, Defendant
                  14   respectfully requests that this Court exercise its removal jurisdiction over this action.
                  15         37.     In the event this Court has a question regarding the propriety of this
                  16   Notice of Removal, Defendant requests that it issue an Order to Show Cause so that
                  17   it may have an opportunity to more fully brief the Court on the basis for this
                  18   removal.
                  19

                  20   DATED: October 17, 2014                     OGLETREE, DEAKINS, NASH,
                                                                   SMOAK & STEWART, P.C.
                  21

                  22

                  23                                               By:        /s/ Jordon R. Ferguson
                                                                         Vince M. Verde
                  24                                                     Richard Y. Chen
                                                                         Jordon R. Ferguson
                  25
                                                                   Attorneys for Defendant,
                  26                                               Wal-Mart Stores, Inc.
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                                   DEFENDANT WAL-MART STORES, INC.’S PETITION AND NOTICE OF REMOVAL
Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 13 of 14
                       Case 1:14-cv-01635-TLN-EPG Document 1 Filed 10/17/14 Page 14 of 14


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